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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Case No. 20-cr-245 (WMW/HB)

 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )     SUPPLEMENTAL RESPONSE TO
                                           )     DEFENDANT’S PRE-TRIAL
        v.                                 )     MOTIONS
                                           )
 RICHARD ALONZO WOODS,                     )
                                           )
                      Defendant.           )

       The United States of America, by and through W. Anders Folk, Acting United States

Attorney for the District of Minnesota, and Samantha H. Bates, Assistant United States

Attorney, respectfully submits this supplemental response to the Defendant Richard

Woods’s pretrial motions.

I.     BACKGROUND

       The factual and procedural history of the matters previously litigated by Woods in

an earlier prosecution by the U.S. Attorney’s Office are set forth in several motions and

orders. (See United States v. Richard Alonzo Woods, No. 18-CR-153 (1) (WMW/HB)

(“Woods I”), Dkts. 54-55, 65-66.) That history is incorporated by reference in this

Supplemental Response to the Defendant’s Motions and only the facts most pertinent to

this Response are set forth here.

       On May 18, 2018, Woods was arrested after fleeing police in a White Chevrolet

Tahoe. Two firearms were recovered by law enforcement from the vehicle. On May 19,

2018, Woods gave a recorded post Miranda statement to Minneapolis Police Sergeant John

Biederman at the Hennepin County Jail. On May 22, 2018, a search was executed at

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Woods’s residence in Minneapolis, pursuant to a search warrant signed by Hennepin

County District Court Judge Lois Conroy. On May 24, 2018, two cellphones belonging to

Woods were seized from the Tahoe when it was searched pursuant to a search warrant

signed by Hennepin County District Court Judge Janet Poston. Also, on May 24, 2018,

another cellphone was seized from Woods’s person when he was arrested on a federal

supervised release violation. All three cellphones were searched pursuant to a state search

warrant signed by Hennepin County District Court Judge Cara Neville. In Woods I, the

Defendant moved to suppress the search and seizure of his vehicle on May 18, 2018, the

search of his residence on May 22, 2018, pursuant to the search warrant signed by Judge

Conroy, the search of his three cellphones pursuant to the search warrant signed by Judge

Neville, and his May 19, 2018 statement. (Woods I, Dkts. 28, 31).

       A motion hearing was conducted on August 28, 2018, in front of Magistrate Judge

Bowbeer. Following the motion hearing, briefing was submitted and the Court entered a

Report and Recommendation (“the R&R”), pursuant to 28 U.S.C. § 636, recommending

the Woods’s motions to suppress evidence be denied. (Woods I, Dkt. 55). Woods then

objected to the R&R. After additional briefing by the parties, Judge Wright issued an

ordering denying Woods’s motions to suppress and adopting the R&R. (Woods I, Dkt. 66).

       Following the Court’s ruling denying his motions to suppress, Woods entered a

guilty plea on May 9, 2019, and was sentenced to 77 months’ imprisonment on January 9,

2020. (Woods I, Dkts. 93, 148). In the Plea Agreement and Sentencing Stipulations,

Woods acknowledged that he waived all pending pre-trial motions and gave up the right to

appeal the Court’s decision on any previously filed motions. (Woods I, Dkt. 95 at 3).

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       On October 27, 2020, the United States Grand Jury returned an indictment charging

Woods with nine offenses in a new matter. (See United States v. Richard Alonzo Woods,

No. 20-cr-245 (WMW/HB), Dkt. 1). In this pending case, Woods is charged with a variety

of additional crimes that the government alleges occurred in 2018, in the same time frame

as his prior conviction in Woods I. The evidence from Woods I is relevant to this new

investigation including his previous statements to law enforcement, the contents of his

cellphone extractions, and the items recovered from his residence on May 22, 2018.

       Despite having previously litigated these very issues before the Court, Woods again

seeks to suppress evidence seized from: (1) his three mobile telephones searched pursuant

to a state search warrant; (2) the warrantless search and seizure of his vehicle following his

flight from police on May 18, 2018; (3) the search of his residence on May 22, 2018,

pursuant to a state search warrant; and (4) his recorded post Miranda statement to law

enforcement on May 19, 2018. 1 Each of these searches and the statement were previously

litigated, and the Defendant’s motions seeking suppression of the fruits of these searches

are barred by collateral estoppel.

II.    ARGUMENT

       Under the doctrine of collateral estoppel, once a court has decided an issue of fact

or law necessary to its judgment, that determination is conclusive in a subsequent suit based

on a different cause of action involving a party to the prior litigation. Procknow v. Curry,


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          In the present case, Woods has moved to suppress additional searches, another statement,
and his seizure pursuant to his May 24, 2018 arrest on a federal bench warrant. These are new
issues that have not been litigated. The government opposes each of these motions and intends to
offer the relevant warrants and audio statement for the Court’s consideration.
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26 F.Supp.3d 875, 882 (D. Minn. 2014). Although more widely applied in civil cases,

collateral estoppel is applied to criminal cases in this circuit—and, in particular, has been

applied in the context of previously-litigated suppression issues.         United States v.

McManaman, 673 F.3d 841, 847 (8th Cir. 2012); United States v. Rosenberger, 872 F.2d

240, 242 (8th Cir.1989).

       There is “no reason ... for avoiding the doctrine's application” so long as courts

“closely examine the prerequisites of the estoppel doctrine in the context of criminal

cases.” McManaman, 673 F.3d at 847; quoting Rosenberger, 872 F.2d at 242. The

McManaman court further explained, “we have elsewhere noted that the rule of collateral

estoppel in criminal cases is not to be applied with the hypertechnical and archaic approach

of a 19th century pleading book, but with realism and rationality.” Id.; quoting United

States v. Torres–Villalobos, 487 F.3d 607, 617 (8th Cir.2007).

       Collateral estoppel applies when: (1) the issue sought to be precluded is identical to

the issue previously decided; (2) the prior action resulted in a final adjudication on the

merits; (3) the party sought to be estopped was either a party or in privity with a party to

the prior action; and (4) the party sought to be estopped was given a full and fair

opportunity to be heard on the issue in the prior action. McManaman, 673 F.3d at 847;

quoting Ripplin Shoals Land Co. v. U.S. Army Corps of Eng'rs, 440 F.3d 1038, 1044 (8th

Cir.2006). Further, collateral estoppel is appropriate when a defendant does nothing more

than reargue the assertions he made earlier with no offer of new evidence or changed

circumstances. McManaman, 673 F.3d at 847; quoting Rosenberger, 872 F.2d at 242.



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       Here, the evidence Woods seeks to preclude is identical to what he previously

sought to suppress in Woods I. Additionally, in Woods I, Judge Wright’s Order adopting

the R&R provided a final adjudication on the merits as to the legality of the searches and

statement at issue. Finally, Woods was a party to the prior action as a defendant in that

case and was given a full and fair opportunity to be heard on these issues in Woods I. These

issues were litigated at length through: (1) a motion hearing held on August 28, 2018; (2)

post-hearing briefing; and (3) objections to the R&R. (Woods I, Dkt. 40). Woods then

waived any further legal objections to Judge Wright’s Order Adopting the R&R through

his guilty plea.

       Like the defendants in McManaman and Rosenberger, Woods has not provided any

new evidence or argument that changes the Court’s analysis of its denial of his motions to

Suppress in Woods I. During a meet and confer between the parties on April 13, 2021,

defense counsel articulated no new evidence, arguments, or changed circumstances

between the litigation of Woods I and this current matter. Nor did counsel provide specific

reasons Woods seeks to suppress these searches and one statement beyond the broad bases

stated in his original filing. The government is aware of no reason collateral estoppel

should not apply in this instance.

III.   CONCLUSION

       Woods’s motions seeking suppression of each of the searches and the statement

litigated in his prior case are barred by collateral estoppel and the Court should deny

Woods’s motions to suppress evidence seized from the previously litigated searches of

his cell phones, vehicle, and residence and his statement to law enforcement. The

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government reserves the right to make further argument in post-hearing briefing if Woods

presents new arguments that have not previously been raised.

                                                  Respectfully submitted,
 Dated: April 16, 2021
                                                  W. ANDERS FOLK
                                                  Acting United States Attorney

                                                  s/ Samantha H. Bates

                                                  BY: SAMANTHA H. BATES
                                                  Assistant United States Attorney
                                                  Attorney ID No. 0395002




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